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                             UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
                                       WESTERN DIVISION
      Consumer Financial Protection Bureau,        Case No. 2:15-cv-09692-PSG(Ex)
                                                   Hon. Philip S. Gutierrez
                                                   (1) REPLY MEMORANDUM BY
                          Plaintiff,               DEFENDANTS D & D MARKETIN€
                                                   INC., GRIGOR DEMIRCHYAN &
            v.                                     MARINA DEMIRCHYAN IN
                                                   SUPPORT OF THEIR MOTION
                                                   FOR CERTIFICATION OF
                                                   INTERLOCUTORY APPEAL AND
      D and D Marketing, Inc., d/b/a               CONCOMITANT STAY; (2)
      T3Leads, Grigor Demirchyan, and              DECLARATION OF HERBERT P.
      Marina Demirchyan,                           KUNOWSKI (Filed Separately)
                                                   Hearing Date:       March 27, 2017
                                                   Hearing Time:       1:30 p.m.
                          Defendants.              Courtroom:          6A
                                                   Courthouse:         First Street




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                     MEMORANDUM OF POINTS & AUTHORITIES


                                        INTRODUCTION
             Refusing to even acknowledge the key decisions cited in the moving papers
       filed by defendants D and D Marketing, Inc., d/b/a T3 Leads, Grigor Demirchyan,
       and Marina Demirchyan (collectively "D&D"), the Bureau asks this Court to
       sweep the major constitutional issues presented in this case under the rug. The
      Bureau's main motivation is to obtain an unfair litigation advantage by rushing this
       case to trial so that the Bureau can seek millions of dollars in damages, while using
      the threat of such crushing liability at the pre-trial stage to force a settlement.
      Because a post-judgment appeal would not be feasible, the Bureau's suggestion to
       defer appellate review of the key dispositive issues presented here should be
       rejected.
                                          DISCUSSION
             I.     Each of the Two Questions Presented Justify Interlocutory
                   Appellate Review.


                   A.     The constitutional issues presented here, in terms of the
                          constitutionality of the Bureau's structure and the proper
                          remedy to resolve its structural flaw, present controlling
                          questions of law involving substantial ground for difference
                          of opinion.


                          1.     The constitutionality of the Bureau's structure
                                 requires immediate appellate review.


             In its moving papers, D&D argued that the proper remedy to resolve the
      structural flaw found in PHH Corp. v. CFPB, 839 F.3d 1 (D.C. Cir. 2016) presents

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       a controlling legal question. (Motion, pp. 5-8.) After D&D filed its motion for
       certification, the Bureau's petition for rehearing en banc was granted. To review
      the panel's decision, the order granting rehearing requested briefing on the
       following issues, among others:


             "Is the CFPB's structure as a single-Director independent agency
             consistent with Article II of the Constitution and, if not, is the proper
             remedy to sever the for-cause provision of the statute?" (PHH Corp.
             v. CFPB, 2017 U.S. App. Lexis 2733 at *5-6 (Feb. 16, 2017)).


             Because en bane review is justified to resolve questions of "exceptional
       importance" (FRAP 35(a)(2)), the mere fact that rehearing was granted in that case
      to resolve this issue substantiates D&D's position that an interlocutory appeal is
      justified here. After all, the standards for granting rehearing en banc and
       certification under the interlocutory appeal statute are effectively the same.
       Compare 28 U.S.C. § 1292(b) (authorizing such relief to resolve "a controlling
       question of law as to which there is substantial ground for difference of opinion")
      with FRAP 35(b)(1)(B) (en banc review warranted to resolve issues of exceptional
       importance involving inter-circuit conflict).
             The Bureau's attempt to downplay the significance of the constitutional
       issues associated with its structural flaw contradicts its own arguments in its
       rehearing petition. In successfully seeking en banc review, the Bureau argued that
      the structural flaw was found by the PHH panel majority in what "may be the most
       important separation-of-powers case in a generation." (Pet. for Reh'g, p.1, Nov.
       18, 2016, ECF No. 1646917.) In addition to arguing that the panel majority's view
       in that case "presents an issue of exceptional importance" (id. at 2), the Bureau
       argued that the decision, as interpreted by the majority, conflicted with Supreme
       Court precedent. (Id. at 1-2.) Here, on the other hand, the Bureau advances the
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       exact opposite view, claiming that the identical issue presented here does not
      warrant appellate review because it is neither controlling nor in conflict with any
       other authority. (Opp. 3-4.) The Bureau does not explain its radical change of heart
       over the past four months since it filed its rehearing petition, thus raising serious
       credibility issues with its current position.
               After finally acknowledging—albeit implicitly—that the courts are divided
       over the "underlying constitutionality question," the Bureau argues that "there is
       no substantial ground for difference of opinion" regarding the remedy question
       implicated by the antecedent constitutionality question. (Id. at 4:6-7.) The Bureau,
       however, conveniently refuses to acknowledge, distinguish or reconcile the
       contrary, pro-D&D view adopted in Federal Election Comm'n v. NRA Political
       Victory Fund, 6 F.3d 821 (D.C. Cir. 1993), invoked in D&D's motion. (Motion, p.
       9.) While that court held that it could not "declare the Commission's structure
       unconstitutional without providing relief to the appellants" where "appellants
       raise[d] the constitutional challenge as a defense to an enforcement action" pursued
       by a federal agency (NRA, at 822), this Court refused to grant the relief requested
       by D&D — dismissal — despite finding a structural flaw. (Order Denying
       Defendants' Motion to Dismiss, pp. 7-8, Nov. 17, 2016, ECF No. 57). That, by
       itself, perfectly illustrates the direct conflict invoked by D&D, refuting the
       Bureau's denial of the divergence of opinion on this critical issue. In sum, while
      the Bureau's refusal to acknowledge NRA is somewhat understandable — though
       misguided — its decision to remain in denial about the lack of uniformity of the law
       is perplexing.
               Moreover, contrary to the Bureau's assumption, the merits of the questions
       presented here are irrelevant at this particular stage in deciding whether to grant the
       motion for certification. A party seeking an interlocutory appeal is not required to
       establish a likelihood of success in terms of the ultimate adoption of its view. That
       merits question will be addressed by the appellate court once this motion is
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      granted. Therefore, to the extent that the Bureau is attempting to litigate the merits
       of the issues presented (Opp. 4-5), that approach is equally futile.


                           2.    The proper remedy required to address the Bureau's
                                 structural flaw presents a subsidiary issue that
                                 similarly justifies appellate review.


              Continuing with its aggressive efforts to avoid appellate review, the Bureau
      also argues that the structural flaws invoked by D&D have absolutely no legal
       implication here, claiming that "any Article II infirmity does not impact the
      Bureau's Article III standing." (Opp. 5.) The Bureau is wrong again. While the
      Bureau cites a split decision by the Ninth Circuit to support its position (Opp. 5), it
      "fails to even address how a Bureau with no executive power has standing to bring
      a civil enforcement action." CFPB v. Gordon, 819 F.3d 1179, 1201 (9th Cir. 2016)
      (Ikuta, J., dissenting), petition for cert. filed, Nov. 22, 2016 (No. 16-673).
      Assuming that the Bureau is correct on the merits of this issue, the split Gordon
      decision invoked by the Bureau itself illustrates the lack of uniformity regarding
      the proper remedy for the structural violation that this Court previously found.
              The Bureau's position is wrong for additional reasons. It is a fundamental
      tenet of administrative law that a federal agency is "a creation of Congress" that
      possesses "only" "the powers Congress specifically granted it." American Fin.
      Servs. Ass 'n v. FTC, 767 F.2d 957, 965 (D.C. Cir. 1985). "As the Court has said
      many times before, the Commission may exercise only the powers granted it by the
      Act." FTC v. National Lead Co., 352 U.S. 419, 428 (1957). Beyond the scope of its
      statutory authority, "an agency literally has no power to act." Louisiana Pub. Serv.
       Comm 'n v. FCC, 476 U.S. 355, 374 (1986). Conversely, if the Bureau's structure
      is inherently flawed — e.g., due to a constitutional violation — the Bureau is not


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      "empowered" to do anything with respect to D&D because the Bureau "literally
      has no power to act." Ibid. 1
               Consistent with our view, the Supreme Court has enforced the constitutional
      requirement to provide an adequate remedy when violations of other constitutional
      provisions are established. In the context of regulatory takings, for example, the
      Court has held that, as a matter of constitutional law, regulatory takings that are
      ultimately invalidated by the courts trigger the imposition of a damages remedy so
      that property owners can seek monetary relief when one's property is temporarily
      taken in violation of the Fifth Amendment. First English Evangelical Lutheran
      Church of Glendale v. Count)) of Los Angeles, 482 U.S. 304, 322 (1987).
      Overruling prior case law, the Court rejected the notion that a constitutional
      violation of the Takings Clause can be adequately addressed by merely
      invalidating the regulation without the payment of monetary damages for the
      damages sustained during the interim prior to the invalidation of the regulation.
      This is a basic application of the rule announced in Marbury v. Madison, 5 U.S.
      137, 163 (1803) that there must be a proper remedy for the violation of a legal
      right.
               In sum, our system of remedies must be stringent enough to keep the
      government within the bounds of the law. Because the severance remedy suggested
      by the Bureau fails this basic test, it is not a constitutionally-adequate remedy.




       Likewise, in analogous circumstances, courts and agencies have recognized that
      agency "jurisdiction, although once obtained, may be lost" if the proceeding at any
      point exceeds the agency's statutory authority. Pentheny, Ltd. v. Government of
      Virgin Islands, 360 F.2d 786, 790 (3d Cir. 1966). When that happens, "proceedings
      cannot validly be continued beyond the point at which jurisdiction ceases." Ibid.

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       While the Bureau disagrees with D&D's view, appellate review is critically needed
       on this significant issue.2


                    B.     The second issue presented, regarding the evaluation of
                           D&D's statutory vagueness arguments, independently
                            justifies interlocutory appellate review.


              The Bureau misconstrues D&D's argument regarding the second question
       presented for interlocutory appellate review (Motion, p. 1), arguing that D&D's
       "claim that the Court considered only the facial validity of the CFPA" is incorrect.
       (Opp. 8.) D&D's position, however, is that facial validity of a statute does not, in
       and of itself, preclude an as-applied challenge.
              While it is true that some courts have decided as-applied challenges by
       merely examining the text of the statute and rejecting the as-applied challenge
       (Motion, p. 12, Opp. 9, fn. 35), the analytical flaw employed in such cases is that
       this approach erroneously merges the two types of challenges (facial and as-
       applied challenges) into one. Because a statute may be unconstitutional as-applied,



       2 The Bureau also makes a half-hearted claim that the remedy issue was not
       preserved. (Opp. 6.) The remedy question, however, is necessarily subsumed in the
       primary issue regarding whether there is a constitutional violation in the first place.
       The Bureau also complains that D&D had incorporated Formichev's constitutional
       arguments by reference, suggesting some sort of waiver (Opp. 6-7), despite the
       Bureau's quotation of the constitutional arguments from D&D's own moving
       papers. (Opp. 8, fn. 32.) As this Court explained in its prior order, for purposes of
       "judicial convenience and efficiency" (Order, Sept. 13, 2016, Doc. No. 47), the
       motions to dismiss filed by D&D and Formichev were continued for hearing on the
       same date. In adopting this approach, the Court observed — and implicitly approved
       — the parties' decision to "incorporate by reference arguments raised by other
       Defendants." (Id.) By issuing a single order addressing all three motions (Order,
       Nov. 17, 2016), the Court applied the same approach to promote efficiency, thus
       precluding any suggestion of procedural waiver.
                                                6
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       even if it is otherwise facially valid, the Bureau's attempt to use one standard to
       adjudicate the other form of challenge is inherently flawed. That question
       independently justifies interlocutory appellate review for the reasons discussed in
       the moving papers. (Motion, pp. 13-15.)
               The Bureau also argues that there is no "difference of opinion on the
       subsidiary question relating to the standard the Court applied in evaluating the
       defendants' as-applied vagueness challenge." (Opp. 9:9-11.) The Bureau insists
       that "a less strict vagueness test" applies to challenges to statutes that regulate
       business entities. (Opp. 9:11-15.)
               Contrary to the Bureau's view, however, the Court has identified two
       characteristics of civil laws that trigger strict vagueness analysis: whether the law
       serves purposes akin to criminal sanctions and whether the law's application
       infringes on a constitutional right. In either scenario, a strict vagueness test applies,
       even if the law regulates economic activities.
               In Village of Hoffman Estates v. Flipside Hoffman Estates, Inc., 455 U.S.
       489 (1982), for example, the Court observed that although the ordinance
       "nominally impose[d] only civil penalties," it was "quasi-criminal" because of its
       "prohibitory and stigmatizing effect." 455 U.S. at 499. For that reason, it
       "warrant[ed] a relatively strict" vagueness test. Ibid.; see also Champlin Ref Co. v.
       Corp. Comm 'n, 286 U.S. 210, 241 (1932) (finding a civil statute unconstitutionally
       vague where the civil penalty was "not consistent with any purpose other than to
       inflict punishment"). The relief sought by the Bureau here — "civil money [sic]
       penalties" and "disgorgement of ill-gotten revenues" (Amended Complaint, p. 18,
       Tiff 6-7) — is quasi-criminal, thus triggering the application of a strict vagueness test
       here. See Johnson v. United States, 135 S. Ct. 2551, 2567, fn. 1 (2015) (Kennedy,




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   1   J., concurring) ("a law imposing a monetary exaction as a punishment for
   2   noncompliance with a regulatory mandate is penal"). 3
   3           Consistent with D&D's position, the Supreme Court has also applied a strict
   4   vagueness standard to civil statutes that involve deprivation of fundamental rights.
   5   The Hoffman Court explained that "perhaps the most important factor affecting the
   6   clarity that the Constitution demands of a law is whether it threatens to inhibit the
   7   exercise of constitutionally protected rights." 455 U.S. at 499. See also Gen. Media
   8   Communications, Inc. v. Cohen, 131 F.3d 273, 286 (2d Cir. 1997) ("[S]tatutes that
   9   implicate constitutionally protected rights ... are subject to 'more stringent'
  10   vagueness analysis" (quoting Hoffman, 455 U.S. at 499)). To the extent the Bureau
  11   is challenging D&D's advertising activities (Amended Complaint, pp. 4-5, 1 8-10)
  12   or the content of those ads, additional constitutionally-protected rights are
  13   implicated here (e.g., First Amendment rights), thus further justifying strict review.
  14           To summarize, courts apply strict vagueness review to civil statutes such as
  15   the ones implicated here for at least two reasons: because their penalties serve the
  16   purposes of criminal punishment and because their penalties put fundamental
  17   rights at stake. Cf. McBurney v. Young, 133 S.Ct. 1709, 1715 (2013) (noting that
  18   the opportunity to pursue a common calling is a fundamental right, protected by
  19   the Privileges and Immunities Clause). Therefore, the Bureau's position that
  20   "economic regulation is subject to a less strict vagueness test" is legally inaccurate.
  21   (Opp. 10:10-11.) At a minimum, the difference of opinion as to the appropriate
  22

  23
       3The conclusion that protections typically reserved for the criminal context apply
  24   to civil proceedings when the penalty is retributive, and therefore quasi-criminal, is
  25   not limited to the vagueness doctrine. In One 1958 Plymouth Sedan v.
       Pennsylvania, the Court applied the exclusionary rule, another protection typically
  26   confined to criminal proceedings, in a civil forfeiture proceeding because "a
  27   forfeiture proceeding is quasi-criminal in character" — "{i]ts object, like a criminal
       proceeding, is to penalize for the commission of an offense against the law." 380
  28   U.S. 693, 700 (1965).
                                                 8
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   1   test, as evidenced by the competing lines of authority invoked by both sides,
   2   justifies interlocutory review.
   3           The Bureau also argues that D&D has not articulated "how the CFPA
   4   authorizes or even encourages arbitrary and discriminatory enforcement." (Opp.
   5   11:4-5.) As D&D explained in its moving papers, however, the Bureau's self-
   6   serving interpretation of what the CFPA bans allows the Bureau to administer the
   7   law based on its own eye-of-the-beholder test in interpreting or applying the law —
   8   i.e., in whatever manner the Bureau sees fit. (Motion, pp. 13-14.) Exacerbating the
   9   statutory vagueness issues presented here, the Bureau's attempt to apply its own,
  10   unilateral and novel interpretation of the CFPA represents another form of arbitrary
  11   enforcement, conduct that is directly precluded by the Due Process Clause. Id. at
  12   14-15 (collecting cases.)
  13           Summarily dismissing this critical point, the Bureau claims that D&D has
  14   failed "to show that this issue is relevant, much less a controlling issue." (Opp.
  15   11:8-9.) This is an odd argument, given that a violation of the Due Process Clause,
  16   by definition, precludes the imposition of liability.
  17           To summarize, the additional questions presented here — regarding the
  18   proper test for evaluating as-applied challenges and whether the statute at issue is
  19   unconstitutionally vague — independently justify appellate review.
  20

  21           II.   An Interlocutory Appeal Would Materially Advance the Ultimate
  22                 Disposition of This Litigation.
  23

  24           The Bureau also maintains that an interlocutory appeal would delay the
  25   proceedings pending in this Court, thus precluding an interlocutory appeal. (Opp.
  26   16-24.)
  27           The obvious fallacy in this argument is that all appeals, interlocutory or
  28   otherwise, inherently result in some delay. Under the Bureau's view, however, no
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       one could ever obtain interlocutory appellate review because there will always be
       some delay associated with such an appeal. In essence, the Bureau seeks to nullify
       Congress's decision to enact this procedural mechanism to access the appellate
       court while the case is pending in the district court. (28 U.S.C. § 1292(b).)
              The Bureau also claims that interlocutory review is inappropriate because
       the Ninth Circuit may ultimately uphold the constitutionality of the Bureau's
       structure, thus rendering moot the subsidiary issue regarding the proper remedy for
       an unconstitutional, structural flaw. But the opposite scenario is also possible. If
       the Ninth Circuit deems the Bureau's structure to be unconstitutional, the remedy
       issue will necessarily have to be decided. If the Court of Appeals agrees with D&D
       that the Bureau's unconstitutional structure may be raised as an affirmative defense
       (e.g., based on the plaintiff's lack of standing), D&D will necessarily prevail. At
       this point, of course, D&D does not have to show which party has a higher
       likelihood of success to pursue interlocutory appellate review; unlike the Bureau,
       D&D does not profess to have a crystal ball either.


             III. A Stay Is Fully Justified in This Case, Particularly Given the
                    Bureau's Position Regarding the Exceptional, National
                    Importance of the Issues presented in This Case.


             Directly contradicting its position that the PHH panel majority's decision
       finding a structural flaw represents "the most important separation-of-powers case
       in a generation" (PHH Corp. v. CFPB, No. 15-1177, Pet. for Reh'g, p.1, Nov. 18,
       2016, ECF No. 1646917), the Bureau now claims that appellate resolution of the
       identical issues here do not justify a stay. The grounds offered by the Bureau to
       challenge D&D's stay request are factually, procedurally and legally wrong.
             First, while the Bureau accuses D&D of undue delay in presenting its motion
       for certification, this factual assertion is simply flawed. The motion was filed less
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       than six weeks after this Court issued its 26-page order, addressing various
       complicated constitutional issues. The law in this area remains highly fluid, as
       evidenced by the district court decision cited by the Bureau granting a similar
       motion for certification. Opp., p. 16, fn. 71 (citing CFPB v. CashCall, Inc. 15-cv-
       7522-JFW (RAOx) (C.D. Cal. Jan. 3, 2017)). Under such circumstances, the
       Bureau's undue-delay claim is hard to reconcile with reality. (See Declaration of
       Herbert P. Kunowski, filed concurrently, II 2-3.)
               The Bureau also claims that D&D has failed to show a likelihood of success
       to justify a stay because "any unconstitutional infirmity in the Bureau's structure
       may be remedied." (Opp. 19.) This argument is premised on circular reasoning,
       because it assumes that the jurisdictional issues presented here, in terms of the
       Bureau's lack of standing, may be relegated to the harmless-error category.
               The Bureau also argues that a stay is not justified because the public has a
       significant interest in enforcing the challenged laws. But the public also has a
       significant interest in ensuring that the government plays by the rules dictated by
       the Constitution. In fact, the whole concept of the private attorney general doctrine
       — though no longer applicable in federal courts — is based on the premise that
       citizens should be encouraged to challenge government conduct that threatens the
       constitutional protections envisioned by the Framers. Where, as here, an agency
       "has been left a free hand to vindicate its own idiosyncratic conception of the
       public interest" (Red Lion Broadcasting Co. v. FCC, 395 U.S. 367, 395 (1969)),
       the due process concerns raised here become paramount. Under such
       circumstances, rushing this case to trial, by sweeping the significant constitutional
       issues presented here under the rug, is certainly not the solution.
               The relief being sought by D&D here is the same as the relief sought by the
       Bureau itself in its rehearing petition. The only difference is the number of
       appellate judges to be assigned, the location of the appellate court and the color of
       the appellate brief covers.
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              REPLY MEMORANDUM BY DEFENDANTS D & D, et al. ISO MOTION FOR CERTIFICATION OF
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                                          CONCLUSION
             The motion should be granted.

                                         Respectfully submitted,

       Dated: March 13, 2017             WILSON, ELSER, MOSKOWITZ,
                                           EDELMAN & DICKER LLP


                                         By: /s/ Robert Cooper
                                                Robert Cooper
                                                Attorneys for Defendants,
                                                D and D Marketing, Inc., d/b/a T3Leads,
                                                Grigor Demirchyan, and Marina
                                                Demirchyan




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              REPLY MEMORANDUM BY DEFENDANTS D & D, et a I. ISO MOTION FOR CERTIFICATION OF
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